
70 N.Y.2d 744 (1987)
Martin Lang, Individually, as Supervisor of the Town of Southampton and on Behalf of All Others Similarly Situated, et al., Appellants-Respondents,
v.
Peter F. Cohalan, as County Executive of the County of Suffolk, et al., Respondents-Appellants, and State of New York et al., Respondents.
Court of Appeals of the State of New York.
Decided September 17, 1987.
Appeal dismissed, without costs, by the Court of Appeals sua sponte, upon the ground that no substantial constitutional question is directly involved. Cross appeal dismissed, without *745 costs, by the Court of Appeals sua sponte, upon the ground that cross appellants are not parties aggrieved by the order of the Appellate Division (CPLR 5511).
